             Case 3:17-cv-00939-WHA Document 2623-8 Filed 02/05/18 Page 1 of 34

                                     Waymo v. Uber
                               Case No. 3:17-cv-00939-WHA



                   TRIAL EXHIBIT 7912

Uber Objections:

             Fed. R. Evid. 802 – This document contains inadmissible hearsay; namely, out of court
              statements made by Anthony Levandowski, Lior Ron, Colin Sebern, Soren Juelsgaard, and Don
              Burnette, all of whom participated in the Stroz diligence process in their individual capacity. See
              Br. § I.

             Fed. R. Evid. 805 – This document contains inadmissible hearsay within hearsay; namely,
              Anthony Levandowski’s, Lior Ron’s, Colin Sebern’s, Soren Juelsgaard’s, and Don Burnette’s
              recitations of out of court statements made by other declarants. See Br. § I.

             Fed. R. Evid. 403 – Because the document is replete with embedded hearsay, the Court should
              exercise its discretion under Rule 403 to exclude any reliance on the document for its truth, to
              prevent jury confusion about what fragments are admissible for truth, and resulting waste of time
              and prejudice to Uber. See Br. § IV.

             This exhibit contains references to, and attaches copies of, the diligenced employees’ Google
              employment agreement, which Waymo stipulated that it would not make reference to in its case
              in chief. See Dkt. 425 at 4.

             Disclosed witnesses who received this document pre-litigation are: Adam Bentley, Angela
              Padilla, Eric Tate, John Gardner, Justin Suhr, and Lior Ron. Except through Padilla or Suhr, the
              document therefore cannot be admitted for a non-hearsay purpose of notice to Uber or
              Ottomotto. See Br. § IV.


                 Yellow Highlights                                         Hearsay Statements

                   Blue Highlights                                 Hearsay within Hearsay Statements
Case 3:17-cv-00939-WHA Document 2623-8 Filed 02/05/18 Page 2 of 34
Case 3:17-cv-00939-WHA Document 2623-8 Filed 02/05/18 Page 3 of 34
Case 3:17-cv-00939-WHA Document 2623-8 Filed 02/05/18 Page 4 of 34
Case 3:17-cv-00939-WHA Document 2623-8 Filed 02/05/18 Page 5 of 34
Case 3:17-cv-00939-WHA Document 2623-8 Filed 02/05/18 Page 6 of 34
Case 3:17-cv-00939-WHA Document 2623-8 Filed 02/05/18 Page 7 of 34
Case 3:17-cv-00939-WHA Document 2623-8 Filed 02/05/18 Page 8 of 34
Case 3:17-cv-00939-WHA Document 2623-8 Filed 02/05/18 Page 9 of 34
Case 3:17-cv-00939-WHA Document 2623-8 Filed 02/05/18 Page 10 of 34
Case 3:17-cv-00939-WHA Document 2623-8 Filed 02/05/18 Page 11 of 34
Case 3:17-cv-00939-WHA Document 2623-8 Filed 02/05/18 Page 12 of 34
Case 3:17-cv-00939-WHA Document 2623-8 Filed 02/05/18 Page 13 of 34
Case 3:17-cv-00939-WHA Document 2623-8 Filed 02/05/18 Page 14 of 34
Case 3:17-cv-00939-WHA Document 2623-8 Filed 02/05/18 Page 15 of 34
Case 3:17-cv-00939-WHA Document 2623-8 Filed 02/05/18 Page 16 of 34
Case 3:17-cv-00939-WHA Document 2623-8 Filed 02/05/18 Page 17 of 34
Case 3:17-cv-00939-WHA Document 2623-8 Filed 02/05/18 Page 18 of 34
Case 3:17-cv-00939-WHA Document 2623-8 Filed 02/05/18 Page 19 of 34
Case 3:17-cv-00939-WHA Document 2623-8 Filed 02/05/18 Page 20 of 34
Case 3:17-cv-00939-WHA Document 2623-8 Filed 02/05/18 Page 21 of 34
Case 3:17-cv-00939-WHA Document 2623-8 Filed 02/05/18 Page 22 of 34
Case 3:17-cv-00939-WHA Document 2623-8 Filed 02/05/18 Page 23 of 34
Case 3:17-cv-00939-WHA Document 2623-8 Filed 02/05/18 Page 24 of 34
Case 3:17-cv-00939-WHA Document 2623-8 Filed 02/05/18 Page 25 of 34
Case 3:17-cv-00939-WHA Document 2623-8 Filed 02/05/18 Page 26 of 34
Case 3:17-cv-00939-WHA Document 2623-8 Filed 02/05/18 Page 27 of 34
Case 3:17-cv-00939-WHA Document 2623-8 Filed 02/05/18 Page 28 of 34
Case 3:17-cv-00939-WHA Document 2623-8 Filed 02/05/18 Page 29 of 34
Case 3:17-cv-00939-WHA Document 2623-8 Filed 02/05/18 Page 30 of 34
Case 3:17-cv-00939-WHA Document 2623-8 Filed 02/05/18 Page 31 of 34
Case 3:17-cv-00939-WHA Document 2623-8 Filed 02/05/18 Page 32 of 34
Case 3:17-cv-00939-WHA Document 2623-8 Filed 02/05/18 Page 33 of 34
Case 3:17-cv-00939-WHA Document 2623-8 Filed 02/05/18 Page 34 of 34
